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AO 93 (Rev. 12/09) Search and Seizure Warrant (USAO CDCA Rev, 01/20|3)

UNITED STATES DISTRICT COURT

for the
Central District of Califomia

ln the Matter of the Search of
(Briejly describe the property to be searched
or ide)itij) the person by name and address)

723 South Osage Avenue, Apartment D, lng|ewood,
California, 90301

Case No. 2118-MJ-00909

V\/\/\./VV

SEARCH AND SEIZURE WARRAN'I`
To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Centra| District of Californi_a
(identij_i) the person or describe the property to be searched and give its location)f

See Attachment A-1

The person or property to be searched, described above, is believed to conceal (idennjj) the person or describe the
property to be seized):
See Attachment B

l find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property. Such affidavit(s) or testimony are incorporated herein by reference and attached hereto.

YOU ARE COMMANDED to execute this warrant on or before __ 14 days from the date of its issuance
(not to exceed 14 days)
d in the daytime 6:00 a.m. to 10 p.m. ij at any time in the day or night as I find reasonable cause has been
established.

 

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
on duty at the time of the return through a filing with the C|erk's Office.

(nanie)

El l find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
Searched OI' SeiZed (check the appropriate box) l:l for _ _ __ _ dayS (not to exceed 30).

EI until, the factsjustifying, the later specific date of
Date and time issued: __j;//_¢Zd¢_>___"__‘(_`_£_`[$g£. ` 6

City and state: _Lc)_s Ange|e_s,__C_alifornia _ _ HON. JACQUE E CHOOLJIAN __ _

Pri;ted navie- and title

  

AUSA: JMC X 6520

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AO 93 (Rev. l2.-“09) Search and Sei:iire Warrant (I’age 2)

 

 

 

 

Return
Case No..' Date and time warrant executed: Copy of warrant and inventory left with.'
2:18-MJ-00909 ~//19/ zot&b izDO‘F,o\ ¢¢4.(_‘& poms lummus w. \Ce\
0 l'

 

Invenloijy made in the presence of .' _
S`F\' f'rrekl¢ C\.Uq ~* loe-howe Qs('\a.$
Inventory of the property taken and name of any person(s)Jsei`zed.' v
[Please provide a description that would be sufficient to demonstrate that the items seized fall within the items authorized to be
seized pursuant to the warrant (e.g., type of documents, as opposed to “miscellaneous documents”) as well as the approximate

volume of any documents seized (e.g., number of boxes). lf reference is made to an attached description of propeity, specify the
number of pages to the attachment and any case number appearing thereon.]

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Certiftcation §b! officer present during the execution of the warrant!

 

l declare under penalty of perjury that 1 am an oji`cer who executed this warrant and that this inventory is correct and
was returned along with the original warrant to the designated judge through a filing with the Clerk's O_Ht`ce.

Date.' .S lL wl %

'( Executing ojicef s signature

SA- l.eu-\c% ignqu

Priiited name and title

 

 

 

AUSA: JMC X 6520

